                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION


UNITED STATES OF AMERICA                               )
                                                       )
v.                                                     )       NO. 3:13-00069
                                                       )       JUDGE CAMPBELL
LUIS REYNALDO PARRA FLORES                             )

                                               ORDER

       The sentencing hearing currently scheduled for July 11, 2014, is RESCHEDULED for

September 12, 2014, at 10:30 a.m.

       All motions for a departure or pursuant to United States v. Booker, 125 S.Ct. 738 (2005)

must be filed at least five (5) days before the sentencing hearing.

       In accordance with LCrR 32.01(c), at least seven (7) days prior to the sentencing date, the

parties shall file a “Position of the (Government or Defendant) with Respect to Sentencing Factors,”

containing only unresolved objections to the Presentence Report. If the parties have no objections

to the Presentence Report, they shall so indicate in their “Position” filed with the Court. The parties

shall also serve a copy of their “Position” on the Probation Office upon its filing.

       It is so ORDERED.

                                                       ____________________________________
                                                       TODD J. CAMPBELL
                                                       UNITED STATES DISTRICT JUDGE




 Case 3:13-cr-00069         Document 189         Filed 07/01/14       Page 1 of 1 PageID #: 560
